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AO 91 (Rev. 08/09) Criminal Complaint ; United ambevelertoge
hw : UNITED STATES DISTRICT COURT ai, * 2415
for the
| Southern District of Texas David Bradley, Cleric
United States of America )

Jorge Luis "GARZA | WIZ 4 caseNo. AL-1F- [808 -M
YOB: 1984 COB: United States Liyg oS

)

 

Defendant(s) ,

 

 

CRIMINAL COMPLAINT
I, the complainant in this case, state that the following i is true to the best of my knowledge and belief.
On or about the date(s) of 07/30/2019 in the county of Hidalgo in the
Southern District of Lexas os the defendant(s) violated:
. Code Section ; Offense Description
18 USC 922(g)(1) Possession of a firearm or ammunition, which has affected
interstate commerce, by an individual having been convicted of a
felony .

This criminal complaint is based on these facts:

See Attachment A

@ Continued on the attached sheet.
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8 Je}2orm Compidifiant's signatur?
. A Wedesky - ATF Special Agent

Printed name and title

Sworn to before me and signed in my presence.

Date: fees 1 2O/ 7 SJE o Chit,
Zieé 2 a oA, Judge's signature J

City and state: McAllen. Texas U.S. Magistrate Peter Ormsby

Printed name and title
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ATTACHMENT A

I, Special Agent Joshua Wedesky,.affiant, do hereby depose and state the
following: | -

lam a Special Agent of the United States Department of Justice, Bureau of
Alcohol, Tobacco, Firearms and Explosives (ATF). I have been a law enforcement
officer since March 2015.

My duties include the investigation of violations of Federal firearms laws. I know
it to be unlawful for any person who has been convicted of a crime punishable by
more than one year in prison to possess a firearm or ammunition that has affected
interstate or foreign commerce.

1. On Wednesday, July 31, 2019, your affiant received information from Edinburg
Police Department investigators that Jorge Luis Garza III (hereinafter referred to as
GARZA) was arrested the previous day (Tuesday, July 30, 2019) after a traffic stop
was conducted on a vehicle GARZA was driving, and a substance believed to be
cocaine was found inside the vehicle. Shortly after GARZA was arrested, Edinburg
Police Department investigators made contact with the wife of GARZA at their
residence in Edinburg, Texas. The wife of GARZA (owner/renter of the apartment)
granted written consent to investigators to search the apartment. Edinburg Police
Department investigators located twenty-six (26) rounds of CCI 22 Long Rifle

- (caliber) ammunition and one (1) round of Federal 22 Long Rifle ammunition in
the kitchen of the apartment. A Smith and Wesson, 22 caliber magazine was also
found inside the residence, along with a nylon pistol holster.

2. Also on Wednesday, July 31, 2019, your affiant, along with an Edinburg Police
Department investigator, conducted a custodial interview of GARZA. After being
advised of his Miranda Rights, GARZA waived those rights and agreed to speak

with investigators. GARZA stated during the interview that he had received the
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ATTACHMENT A

ammunition from an unidentified friend approximately two (2) weeks prior, and
GARZA had kept the ammunition at the apartment. GARZA also admitted that he
was a convicted felon and knew that he could not possess firearms. GARZA stated
that he was released from prison approximately two (2) years ago after being.
convicted for his most recent felony. |

3. A criminal history query revealed that GARZA has multiple felony convictions,
to include the following felony conviction:

- April 15, 2010, convicted of Aggravated Assault (Second Degree Felony)

Judgment of conviction documentation has been obtained confirming the felony
conviction for GARZA. This felony conviction shows that GARZA was convicted
of a crime punishable for up to a year or more in prison.

4, An ATF Interstate Nexus Expert was contacted for verbal Interstate Nexus
determination on the ammunition that was located inside the residence. The ATF
Interstate Nexus Expert determined that the ammunition was found to be
manufactured outside of the state of Texas and affects interstate or foreign
commerce. The ammunition is involved in a violation of 18 USC § 922(g)(1).

Salis Diy

Joshffa Wede&ky - ‘AIF Special Adent

Sworn to before me and subscribed in my presence,

 

" U.S. Magistrate Peter Ormsb . August 1, 2019
